        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 1 of 16




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CRISTAL STOUTZENBERGER, )
                        )                    CIVIL ACTION
    PLAINTIFF,          )                    FILE NO.
                        )                    Jury Trial Demanded
                        )
V.                      )
                        )
PYE BARKER FIRE &       )
SAFETY, LLC,            )
                        )
    DEFENDANT.          )


       PLAINTIFF CRISTAL STOUTZENBERGER’S COMPLAINT

      COMES NOW, Plaintiff Cristal Stoutzenberger who files her Complaint

against Defendant Pye Barker Fire & Safety, LLC. at the following address:

11605 Haynes Bridge Rd., Ste. 350, Alpharetta, GA 30009 (hereafter “Defendant”)

and alleges as follows:

                           I.    Nature of Complaint

                                        1.

      Plaintiff seeks to recover unpaid work time, unpaid overtime, liquidated

damages and attorney’s fees and costs for all hours worked in excess of 40 hours in

a single workweek which lack of payments are alleged violations of the Fair Labor

Standards Act, 29 U.S.C. Secs. 203, et. seq. (hereafter “FLSA”).
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 2 of 16




                      II.    JURISDICTION AND VENUE

                                          2.

      This Court has original jurisdiction over cases brought to recover unpaid

overtime pursuant to the FLSA which provides, inter alia, that "[a]n action to recover

... may be maintained ... in any Federal or State court of competent jurisdiction," 29

U. S. C. §216(b).

                                          3.

      Plaintiff resides at 4607 North Landing Drive, Marietta, Georgia 30066, Cobb

County, within the geographic boundary of the United States District Court,

Northern District of Georgia, Atlanta Division.

                                          4.

      Plaintiff has been employed by Defendant from March 25, 2002 to the present,

at her home office at 4607 North Landing Drive, Marietta, Georgia 30066, Cobb

County, or at Defendant’s place of business at 11605 Haynes Bridge Road, Suite

350, Alpharetta, Georgia 30009, and worked within the geographic boundary of the

United States District Court, Northern District of Georgia, Atlanta Division.

                                          5.

      Plaintiff alleges violations of the FLSA in that (1) she was not paid for all time

worked, (2) she was not paid overtime for work performed in excess of 40 hours in
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 3 of 16




a single work week during parts of her employment, and alleges that these violations

of the FLSA occurred throughout Georgia and her home office of at her home office

at 4607 North Landing Drive, Marietta, Georgia 30066, Cobb County, or at

Defendant’s place of business at 11605 Haynes Bridge Road, Suite 350, Alpharetta,

Georgia 30009, within the geographic boundary of the United States District Court,

Northern District of Georgia, Atlanta Division.

                                         6.

      A substantial part of the alleged actions and omissions that give rise to

Plaintiff’s FLSA claims against Defendant are alleged to have occurred within the

geographic boundary of the United States District Court, Northern District of

Georgia, Atlanta Division, such that venue in this Court is proper pursuant to 28

U.S.C. Sec. 1367.

                         III.   PARTIES AND FACTS

                                         7.

      Plaintiff was employed by Defendant from March 25, 2002 until the present,

within the meaning of the FLSA, 29 U.S.C. sec. 203(e).
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 4 of 16




                                          8.

      During the dates alleged in paragraph seven of this Complaint, Plaintiff was

an employee of Defendant, who was an employer engaged in interstate commerce

within the meaning of 29 U.S.C. Sec. 207 (a).

                                          9.

      Plaintiff was paid a salary in her positions with Defendant from January of

2018 until January of 2021.

                                          10.

      Plaintiff was not paid overtime in her position(s) with Defendant from January

2018 until January of 2021.

                                          11.

      During her employment from January 2018 until January of 2021, Plaintiff

was entitled to overtime pay at a rate of 1 ½ times her Regular Rate of pay for hours

in excess of 40 hours in a single work week under the FLSA.

                                          12.

      During her employment from January 2018 until January of 2021, Plaintiff’s

Regular Rate of Pay should have included any bonus or performance based

compensation in addition to her salary.
          Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 5 of 16




                                         13.

      During her employment from January 2018 until January of 2021, Plaintiff’s

bonus or performance based compensation in addition to her salary received in

addition to her salary additional compensation properly characterized as bonus or

performance based compensation which should have been included in her Regular

Rate of compensation for purposes of the FLSA if she was not exempt from the

overtime provisions of the FLSA.

                                         14.

      Even when Plaintiff worked more than forty hours per week from January

2018 until January of 2021, Defendant failed to pay Plaintiff for all the time that she

worked.

                                         15.

      During her employment from January 2018 until January of 2021, Plaintiff

was instructed by Defendant that she was not entitled to overtime compensation.

                                         16.

      During her employment from January 2018 until January of 2021, Plaintiff

did not sell or offer products to the businesses served by Defendant nor did she

negotiate the terms of any contract between Defendant and its customers.
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 6 of 16




                                         17.

      During her employment from January 2018 until January of 2021, Plaintiff

was paid on a salary basis and did not receive commissions.

                                         18.

      During her employment from January 2018 until January of 2021, Plaintiff

was not exempt from the overtime requirements of the FLSA under the executive

exemption because Plaintiff’s primary duty was not managing the enterprise or

managing a customarily recognized department or subdivision of the enterprise.

                                         19.

      During her employment from January 2018 until January of 2021, Plaintiff

was not exempt from the overtime requirements of the FLSA under the executive

exemption because Plaintiff did not customarily and regularly direct the work of at

least two other full-time employees or the equivalent.

                                         20.

      During her employment from January 2018 until January of 2021, Plaintiff

was not exempt from the overtime requirements of the FLSA under the executive

exemption because Plaintiff did not have the authority to hire or fire other employees

or have her suggestions and recommendations regarding the hiring, firing,
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 7 of 16




advancement, promotion, or any other change in status of other employees be given

particular weight.

                                         21.

      During her employment from January 2018 until January of 2021, Plaintiff’s

position(s) did not require her to have an academic degree in a field directly related

to the employee’s occupation.

                                         22.

      During her employment from January 2018 until January of 2021, Plaintiff’s

position(s) did not require her to have an academic degree in a field directly related

to the employee’s occupation including a degree in accounting, law, or engineering.

                                         23.

      During her employment from January 2018 until January of 2021, Plaintiff’s

position(s) did not require her to perform a primary duty requiring advanced

accounting, or legal, or engineering knowledge.

                                         24.

      During her employment from January 2018 until January of 2021, Plaintiff’s

primary duty was not to exercise discretion and independent judgment of learned

professional and Plaintiff was not exempt from the overtime requirements of the

FLSA as a learned professional.
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 8 of 16




                                         25.

      During her employment from January 2018 until January of 2021, Plaintiff’s

primary duty was not the performance of office or non-manual work directly related

to the management or general business operations of the employer or the employers’

customers’.

                                         26.

      During her employment from January 2018 until January of 2021, Plaintiff

did not include the exercise of discretion and independent judgment with respect to

matters of significance.

                                         27.

      During her employment from January 2018 until January of 2021, Plaintiff

was not exempt from the overtime requirements of the FLSA under the

Administrative Exemption.

                                         28.

      During her employment from January 2018 until January of 2021, Defendant

did not accurately record or keep the time Plaintiff actually worked, but instead only

ignored the tracking of Plaintiff’s actual work time and paid her a set salary for each

work week.
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 9 of 16




                                         29.

      During her employment from January 2018 until January of 2021, Plaintiff

was not exempt from the overtime provisions of the FLSA under the executive,

administrative or professional exemptions of the FLSA.

                                          30.

      During her employment from January 2018 until January of 2021, Plaintiff

 was instructed by Defendant that she was not entitled to overtime compensation.

                                         31.

      During her employment from January 2018 until January of 2021, Plaintiff

has been denied overtime compensation, even when she worked in excess of forty

hours per week.

                                     COUNT I
                              Violations of the FLSA

                                         32.

      Plaintiff reasserts and re-alleges the allegations set forth above.

                                         33.

      At all times material herein, Plaintiff has been entitled to the rights,

protections, and benefits provided under the FLSA, 29 U.S.C. §§ 201, et seq.
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 10 of 16




                                        34.

      The FLSA regulates, among other things, the payment of overtime pay by

employers whose employees are engaged in interstate commerce, or engaged in the

production of goods for commerce, or employed in an enterprise engaged in

commerce or in the production of goods for commerce. 29 U.S.C. § 207(a)(1).

                                        35.

      Defendant is subject to the overtime pay requirements of the FLSA because

it is an enterprise engaged in interstate commerce and its employees are engaged in

commerce.

                                        36.

      Defendant violated the FLSA by failing to pay Plaintiff for overtime. In the

course of perpetrating these unlawful practices, Defendant has also willfully failed

to keep accurate records of all hours worked by Plaintiff.

                                        37.

      Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain

categories of employees from overtime pay obligations. None of the FLSA

exemptions apply to Plaintiff.
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 11 of 16




                                          38.

      Plaintiff is entitled to damages equal to the mandated overtime premium pay

within the three years preceding the filing of this Complaint, plus periods of

equitable tolling, because Defendant acted willfully and knew, or showed reckless

disregard of the fact, that its conduct was prohibited by the FLSA.

                                          39.

      Defendant has acted neither in good faith nor with reasonable grounds to

believe that its actions and omissions were not a violation of the FLSA, and as a

result thereof, Plaintiff and other similarly situated employees are entitled to recover

an award of liquidated damages in an amount equal to the amount of unpaid overtime

pay described pursuant to Section 16(b) of the FLSA, codified at 29 U.S.C. § 216(b).

Alternatively, should the Court find Defendant did not act willfully in failing to pay

overtime pay, Plaintiff and all similarly situated employees are entitled to an award

of prejudgment interest at the applicable legal rate.

                                          40.

      As a result of the aforesaid willful violations of the FLSA’s overtime pay

provisions, overtime compensation has been unlawfully withheld by Defendant from

Plaintiff and all similarly situated employees. Accordingly, Defendant is liable

pursuant to 29 U.S.C. § 216(b), together with an additional amount as liquidated
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 12 of 16




damages, pre-judgment and post-judgment interest, reasonable attorneys’ fees, and

costs of this action.

                                         41.

      Defendant’s failure to pay Plaintiff for all work which Defendant knew or

should have known was performed by Plaintiff and failure to pay overtime for hours

worked in excess of forty in a single work week, constitute willful violations of the

FLSA within the meaning of 29 U.S.C. sec. 255(a) such that that the appropriate

statute of limitations to be applied to Defendant’s violations is a three-year period.

                                         42.

      Defendant’s failure to pay Plaintiff for all time worked and for additional work

after scheduled shifts including reading and responding to e-mails, texts, phone calls

and completing other work related paperwork after a scheduled shift, constitutes a

violation of the minimum wage provisions of the FLSA.

                                         43.

      Defendant failure to pay Plaintiff for all time worked, and its failure to pay

Plaintiff for all time worked in excess of forty-hours in a single work week at the

proper overtime rate, constitutes a violation of the overtime provisions of the FLSA.
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 13 of 16




                                         44.

      Defendant was aware of its duty to comply with the FLSA during the times of

Plaintiff’s employment with Defendant.

                                         45.

      Defendant’s failure to pay Plaintiff for all work which Defendant knew or

should have known was performed by Plaintiff and failure to pay overtime for hours

worked in excess of forty in a single work week, constitute willful violations of the

FLSA within the meaning of 29 U.S.C. sec. 255(a) such that that the appropriate

statute of limitations to be applied to Defendant’s violations is a three-year period

                                  COUNT II
                              FLSA RETALIATION

                                         46.

      Plaintiff incorporates by reference as if fully restated here, the preceding

Paragraphs of Plaintiff’s Complaint.

                                         47.

      During her employment from January 2018 until January of 2021, Plaintiff

asked why her job duties did not entitle her to overtime and informed and informed

Defendant of the amounts of hours she had worked.
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 14 of 16




                                         48.

      During her employment from January 2018 until January of 2021, Plaintiff

was told by Defendant that her job was exempt from the overtime provisions of the

FLSA.

                                         49.

      During her employment from January 2018 until January of 2021, after

Plaintiff inquired about whether she was entitled to overtime and after Defendant

refused to pay her overtime, Defendant retaliated against Plaintiff by changing her

work duties and opportunities for pay constituting an adverse employment action

and retaliation under the FLSA.

                                         50.

      As a result of Defendant’s retaliation in violation of the FLSA, Plaintiff is

entitled to unpaid overtime, an award of liquidated damages in an equal amount, and

an award of attorney’s fees and costs.

                             PRAYER FOR RELIEF

                                         51.

      Wherefore, Plaintiff Cristal Stoutzenberger requests a jury trial and damages

in the form of (1) for violations of the FLSA: unpaid work time in violation of the

minimum wage, unpaid overtime, an award of liquidated damages in an equal
        Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 15 of 16




amount, and an award of attorney’s fees and costs, and (2) for retaliation in violation

of the FLSA: unpaid work time in violation of the minimum wage, unpaid overtime,

an award of liquidated damages in an equal amount, and an award of attorney’s fees

and costs.

      Submitted this _3rd_ day of _February_, 2021.

  s/ Donald W. Benson
  Donald W. Benson
  Georgia Bar No. 052350
  KENNETH S. NUGENT, P.C.
  4227 Pleasant Hill Road
  Building 11, Suite 300
  Duluth, GA 30096
  (770) 820-0817
  (770) 820-0717 (facsimile)
  dbenson@attorneykennugent.com

  Counsel for Plaintiff
       Case 1:21-cv-00516-SCJ Document 1 Filed 02/03/21 Page 16 of 16




                          CERTIFICATE OF COUNSEL

      Pursuant to Local Rule 7.1, the undersigned attorney certifies that this motion

was prepared with Time New Roman (14 point), one of the fonts and point selections

approved by the Court in Local Rule 5.1C.

  s/ Donald W. Benson
  Donald W. Benson
  Georgia Bar No. 052350
  KENNETH S. NUGENT, P.C.
  4227 Pleasant Hill Road
  Building 11, Suite 300
  Duluth, GA 30096
  (770) 820-0817
  (770) 820-0717 (facsimile)
  dbenson@attorneykennugent.com

  Counsel for Plaintiff
